        Case 1:20-cv-00124-LMG Document 131                    Filed 08/01/22   Page 1 of 25




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LEO M. GORDON, SENIOR JUDGE
--------------------------------------------------------------------- X
CYBER POWER SYSTEMS (USA) INC.                                         :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :    No. 20-cv-00124
                                                                       :
THE UNITED STATES,                                                     :
                                                                       :
                 Defendant.                                            :
--------------------------------------------------------------------- X




                          PLAINTIFF’S PRETRIAL MEMORANDUM




                                                      NEVILLE PETERSON LLP
                                                      Counsel to Plaintiff Cyber Power Systems
                                                      (USA) Inc.


                                                      John M. Peterson
                                                      Patrick B. Klein
                                                      One Exchange Plaza
                                                      55 Broadway, Suite 2602
                                                      New York, NY 10006
                                                      (212) 635-2730
                                                      jpeterson@npwny.com

                                                      Richard F. O’Neill
                                                      701 Fifth Ave
                                                      Suite 4200-2159
                                                      Seattle, WA 98104
                                                      (206) 905-3648
                                                      roneill@npwny.com

Dated: August 1, 2022
          Case 1:20-cv-00124-LMG Document 131                                           Filed 08/01/22               Page 2 of 25




                                                     TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i
TABLE OF AUTHORITIES .......................................................................................................... ii
STATEMENT OF MATERIAL FACTS TO BE ESTABLISHED AT TRIAL .............................3
DESCRIPTION OF THE EVIDENCE PLAINTIFF INTENDS TO INTRODUCE AT TRIAL
SUPPORTING THE MATERIAL FACTS .....................................................................................5
ARGUMENT ...................................................................................................................................9
I.        Requirements of the Country of Origin Marking Statute, 19 U.S.C. § 1304. .....................9
II.       The Subject UPS and SVP Devices are Properly Marked as Products of The
          Philippines..........................................................................................................................11
          A.         The UPS and SVP Devices Acquire New Names as a Result of the
                     Manufacturing Operations Performed by CPSMI in the Philippines. ...................12
          B.         The Imported UPS and SVP Devices Have a Different Character Than Any of
                     the Components Imported Into the Philippines. ....................................................14
          C.         The UPS and SVP Devices Acquire a New “Use” by Reason of the Operations
                     Performed by CPSMI in the Philippines................................................................16
III.      The Disjunctive Test Articulated in Energizer Battery is Not Appropriate in This Case.
          ............................................................................................................................................19
CONCLUSION ..............................................................................................................................19




                                                                          i
           Case 1:20-cv-00124-LMG Document 131                                          Filed 08/01/22              Page 3 of 25




                                                   TABLE OF AUTHORITIES

Cases
Adolphe Schwob, Inc. v. United States, 62 Treas. Dec. 248, T.D. 45908 (1933) ......................... 14
Anheuser-Busch Brewing Assn. v. United States, 207 U.S. 556 (1908) ........................... 10, 11, 18
Carlson Furniture Industries v. United States, 65 Cust. Ct. 474 (1970) ...................................... 17
Chen-Oyster v. Goldman, Sachs & Co., 114 F.Supp. 3d. 110 (S.D.N.Y. 2015) ............................ 8
Corp. Fin Inc. v. Principal Life Ins. Co., 2006 U.S. Dist. LEXIS 84541 (S.D. Fla. Nov.
  20, 2006) ...................................................................................................................................... 7
Cyber Power Sys. (USA) Inc. v. United States, 560 F. Supp. 3d 1347 (Ct. Int’l Trade
  2022) .................................................................................................................................. 2, 3, 19
Cyber Power Sys. (USA) v. United States, 471 F. Supp. 3d 1371 (Ct. Int’l Trade 2020) ............. 13
Data General Corp. v. United States, 4 C.I.T. 182 (1982) ........................................................... 16
Energizer Battery Inc. v. United States, 190 F. Supp. 3d 1308 (Ct. Int’l Tr. 2016) ......... 11, 15, 19
Ferrostaal Metals Corp. v. United States, 664 F. Supp. 535 (Ct. Int’l Tr. 1987)............. 10, 11, 14
Friedlaender & Co., v. United States, 27 C.C.P.A. 297 (1940) ................................................... 11
Hartmann Trunk Co. v. United States, 27 C.C.P.A. 254 (1940)................................................... 13
Hess v. White Castle Sys. Inc., 2020 U.S. Dist. LEXIS 55720 (S.D. Ill. March 31, 2020) ............ 8
Hi-Tech Rockfall Constr. v. County of Maui, 2009 U.S. Dist. LEXIS 146098 (D. Haw.
  Mar. 12, 2009) ............................................................................................................................. 7
Koru North America v. United States, 12 C.I.T. 1120 (1988) ...................................................... 11
LeBlanc v. Mr. Bult’s, Inc., 2019 U.S. Dist. LEXIS 134937 (N.D. Ill. Aug. 12, 2019) ................. 8
Mahaska Bottling v. Pepsico Inc. 2019 U.S. Dist. LEXIS 230681 (S.D. Iowa Apr. 9,
  2019) ............................................................................................................................................ 7
Midwood Industries Inc. v. United States, 313 F. Supp. 951 (Cust. Ct. 1970) ........... 11, 13, 14, 18
Nat’l Hand Tool Corp. v. United States, 16 C.I.T. 308 (1992)..................................................... 14
Nat’l Hand Tool Corp. v. United States, 989 F.2d 1201 (Fed. Cir. 1983) .................................... 14
National Juice Products Assn. v. United States, 10 C.I.T. 48 (1986) ........................................... 11
Peters v. Butler, 2021 U.S. Dist. LEXIS 48914 (S.D. Ill. Mar. 16, 2021) ..................................... 9
Sassy, Inc. v. United States, 24 C.I.T. 700 (2000) ............................................................ 13, 14, 16
SDI Techs Inc. v. United States, 977 F. Supp. 1235 (Ct. Int’l Tr. 1997) ................................ 14, 18
Superior Wire Inc. v. United States, 11 C.I.T. 608 (1987) ..................................................... 10, 11
Swan v. Arthur, 103 U.S. 594 (1881)............................................................................................ 13
Texas Instruments Co. v. United States, 69 C.C.P.A. 151 (1982) ................................................ 14
Torrington Co. v. United States, 764 F.2d 1543 (Fed. Cir. 1985) .......................................... 10, 14
Tropicana Products Inc. v. United States, 16 C.I.T. 155 (1992) .................................................. 10
Uniroyal, Inc. v. United States, 3 C.I.T. 220 (1982) ..................................................................... 11
United States v. Gibson-Thomsen Inc., 27 C.C.P.A. 267 (1940) ........................................ 2, 10, 18
United States v. International Paint Inc., 35 C.C.P.A. 87 (1948) ................................................ 13
United States v. Murray, 621 F.2d 1163 (1st. Cir. 1980) ............................................................. 11
Vill. of Bondville v. Windstream Corp., 2015 U.S. Dist. LEXIS 194439 (C.D. Ill. Apr. 13,
  2015) ............................................................................................................................................ 8
Statutes
19 U.S.C. § 1304 ............................................................................................................. 5, 9, 18, 19
19 U.S.C. § 1499 ............................................................................................................................. 2
19 U.S.C. § 1515 ............................................................................................................................. 6

                                                                         ii
          Case 1:20-cv-00124-LMG Document 131                                       Filed 08/01/22              Page 4 of 25




19 U.S.C. § 1562 ........................................................................................................................... 10
19 U.S.C. § 1862 ........................................................................................................................... 11
28 U.S.C. § 2639 ......................................................................................................................... 6, 7
28 U.S.C. § 2640 ............................................................................................................................. 7
Regulations
19 C.F.R. § 134.1 .......................................................................................................................... 12
Other Authorities
C.S.D. 85-25, 19 Cust. B. & Dec. 533 (1985) .............................................................................. 18
Webster’s Third New International Dictionary (1981 ed.) ........................................................... 14




                                                                      iii
         Case 1:20-cv-00124-LMG Document 131                           Filed 08/01/22         Page 5 of 25




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LEO M. GORDON, SENIOR JUDGE
--------------------------------------------------------------------- X
CYBER POWER SYSTEMS (USA) INC.                                         :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :                 No. 20-cv-00124
                                                                       :
THE UNITED STATES,                                                     :
                                                                       :
                 Defendant.                                            :
--------------------------------------------------------------------- X

                             PLAINTIFF’S PRETRIAL MEMORANDUM

         Plaintiff submits this pretrial memorandum pursuant to this Court’s Order Governing Trial

Preparations (ECF 97), dated March 24, 2022. Trial in this case is scheduled to begin on August

8, 2022 1. At issue is whether plaintiff’s excluded merchandise, consisting of various models of

uninterruptable power supplies (“UPS”) and surge voltage protectors (“SVP”), was substantially

transformed by manufacturing operations in the Philippines and properly marked “Made in the

Philippines” pursuant to 19 U.S.C. 1304(a). For the reasons set forth herein, plaintiff submits that

the goods are products of the Philippines, and that U.S. Customs and Border Protection (“CBP”)

improperly excluded them from entry and erred in demanding that they be marked “Made in

China.” The Court should enter judgment in plaintiff’s favor and direct CBP to allow the

merchandise at bar to be imported with their current “Made in Philippines” markings.




          1
            At this time, it is anticipated that most of the direct testimony of plaintiff’s witness Chi Ting (Tim) Huang
will be taken by deposition on August 5, 2022, and that the transcript of his testimony will be entered in the record.
       Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22      Page 6 of 25




                                             BACKGROUND

       Plaintiff imported the merchandise at bar under cover of Minneapolis Consumption Entry

No. 791-2579496-2 (dated March 27, 2020). The merchandise consisted of 5 models of UPS’s,

Model Nos: CP600LCDa, CBN50U48A-1, CST135XLU, OR500LCDRM1U and SX650U. The

merchandise also included a single type of SVP, Model No. HT1206UC2RC1. Customs detained

the merchandise, demanding that plaintiff re-mark the goods and their packages as “Made in

China.” Plaintiff refused, and the goods were deemed excluded pursuant to 19 U.S.C.

§ 1499(c)(5)(A). Plaintiff thereupon filed Minneapolis Protest no. 3501-20-101425 to contest the

exclusion of its merchandise. CBP denied that protest on June 20, 2020. Plaintiff then timely

initiated this action on June 22, 2020 to challenge the denial of its protest concerning the exclusion

from entry of its merchandise for improper marking.

       This Court denied the parties’ cross-motions for summary judgment because “the factual

details as to the extent and nature of Cyber Power’s operations regarding the subject merchandise

in the Philippines also remain in dispute.” Cyber Power Sys. (USA) Inc. v. United States, 560 F.

Supp. 3d 1347, 1357 (Ct. Int’l Trade 2022). However, the Court enunciated the legal standard for

determining country of origin which must be applied in this action, making clear that the origin of

plaintiff’s merchandise is to be determined by applying the “substantial transformation” test of a

change in “name, character or use,” as outlined by the Court of Appeals in United States v. Gibson-

Thomsen Inc., 27 C.C.P.A. 267 (1940). With respect to this test, this Court has noted:

       The fact-intensive nature of the substantial transformation analysis in this matter is
       clear from any attempt to evaluate whether Plaintiff’s Philippine operations result
       in a change in the name, character, or use of the subject merchandise. See Gibson-
       Thomsen Co., Inc., 27 C.C.P.A. 267. With respect to the name criterion, there does
       not appear to be any dispute that all of the subject merchandise at issue undergoes
       a change in “name” as none of the components share a name with the finished
       subject merchandise. See Pl.’s Reply at 11 (citing Def.’s XMSJ at 26). There is also
       no dispute that under the “name, character, and use” analysis, a change in name is

                                                  2
        Case 1:20-cv-00124-LMG Document 131                   Filed 08/01/22    Page 7 of 25




        generally considered to be the least compelling factor in support of a finding of
        substantial transformation. See Def.’s XMSJ at 20 (citing Sassy, Inc. v. United
        States, 24 CIT 700, 704 (2000), and Ferrostaal Metals Corp., 11 CIT at 478, 664
        F. Supp. at 541 (“The name criterion is generally considered the least compelling
        of the factors which will support a finding of substantial transformation.”)). While
        the satisfaction of the name criterion in this matter lends some support to Plaintiff’s
        claim, this change in name alone does not appear sufficient to constitute a
        “substantial transformation” of the subject merchandise. The court must therefore
        consider whether changes in the “character” and/or “use” of the merchandise as
        part of Plaintiff’s Philippine operations have effected a “substantial transformation”
        of the subject merchandise. See Precision Specialty Metals, Inc. v. United States,
        24 CIT 1016, 1029–30, 116 F. Supp. 2d 1350, 1364 (2000) (noting that courts
        generally focus on character and use criteria in assessing whether substantial
        transformation has occurred).

Cyber Power Systems (USA) Inc., 560 F. Supp. 3d at 1355-56.

        STATEMENT OF MATERIAL FACTS TO BE ESTABLISHED AT TRIAL

        A statement of stipulated facts, upon which the parties agree there is no issue, has been

submitted to the Court as Schedule C of the Pretrial Order. A full statement of the material facts

plaintiff intends to prove at trial has been submitted to the Court as Schedule C-1 of the joint

pretrial order. At trial plaintiff intends to establish the following.

        Plaintiff CyberPower Systems (USA), Inc. (“Cyber Power USA” or “CPUSA”) is the

Shakopee, Minnesota-based subsidiary of CyberPower Systems, Inc., of Taipei, Taiwan (“Cyber

Power Taiwan” or “CPSI”). CPSI manufactures electrical power solutions, including

uninterruptible power supplies and surge voltage protectors.

        Since October 2018, UPS and SVP devices have been manufactured at plant located in

Manila, The Philippines (known as Cyber Power Systems Manufacturing, Inc. (“Cyber Power

Philippines” or “CPSMI”).

        Uninterruptible Power Supplies (“UPS”) are electrical devices that provide emergency

power to a connected device when the input power source fails. A UPS differs from an auxiliary

or emergency power system or standby generator in that it will provide near-instantaneous

                                                    3
       Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22     Page 8 of 25




protection from input power interruptions, by supplying energy stored in the UPS’s internal

batteries   to   connected   devices,   such   as    computers,   home     entertainment    systems,

telecommunications equipment, or medical devices. The battery run-time of most UPS devices is

relatively short (only a few minutes) but sufficient to start a standby power source or properly shut

down the protected equipment. UPS come in various sizes, ranging from small (200 volt-ampere)

models designed to protect a single computer to large units designed to protect entire buildings or

data centers.

       Surge Voltage Protectors (“SVP”) are electrical devices installed in power distribution

systems for the purpose of protecting connected devices against electrical current surges and

spikes, including those caused by lightning. Plaintiff’s SVPs use voltage-dependent resistors

(varistors) which display a variable impedance, depending on the current flowing through the

device or the voltage across its terminals, and preventing current spikes from reaching and

damaging connected devices.

       Plaintiff CPSUSA imported the five (5) models of UPS, and one (1) model of SVP, devices

from CPSMI’s manufacturing facility in the Philippines. In the Philippines, the devices were

manufactured by CPSMI through inter alia the assembly, connection, and testing of a large number

of components. Step-by-step procedures for the manufacture of all the subject merchandise in this

action are included in plaintiff’s evidence.

       In the case of four (4) of the UPS products, and the single SVP product at issue, the parts

included printed circuit board assemblies (“PCBA”) which were produced in China. After

importation into the Philippines, they are programmed with firmware, which is developed in




                                                 4
         Case 1:20-cv-00124-LMG Document 131                         Filed 08/01/22        Page 9 of 25




Taiwan, using millions of lines of software code produced by Taiwanese software engineers. 2 In

the case of one UPS unit—i.e., UPS Model No. CP600LCDa—the printed circuit boards (“PCB”)

were populated with micro-components and manufactured in the Philippines to create PCBAs

using Dual Inline Positioning (“DIP”) and Surface Mount Technology (SMT) wave-soldering

devices, at the plant of CPSMI’s affiliate, Phisonic, Inc. (“Phisonic”), which is located

immediately adjacent to the Cyber Power assembly plant.

         The issue presented in this case is whether the manufacturing operations at CPSMI’s

Philippines facility resulted in the creation of new and different articles which are required to be

marked “Made in Philippines” for purposes of the marking statute, 19 U.S.C. § 1304(a).

   DESCRIPTION OF THE EVIDENCE PLAINTIFF INTENDS TO INTRODUCE AT
               TRIAL SUPPORTING THE MATERIAL FACTS

         At trial plaintiff intends to call three witnesses: (i) Brent Lovett, General Manager, Cyber

Power Systems (USA) Inc.; (ii) Thomas Fuehrer, Electrical Project Manager, Cyber Power

Systems (USA) Inc.; and (iii) Chi-Ting (“Tim”) Huang, General Manager, CPSMI.

         Mr. Lovett will testify concerning the nature of the products sold by plaintiff Cyber Power

Systems (USA) Inc., their commercial identities and acceptance, and their names, characters and

uses. He will discuss the functional and commercial features of these goods, their markets in the

United States, and customer expectations regarding these goods.

         Mr. Fuehrer will testify as to the functions performed by the merchandise at bar, the

functions performed by individual components of the subject merchandise, and the methods by

which these goods are manufactured, which includes the creation and downloading of firmware




         2
           “Firmware” is generally distinguished from “software” in that firmware is computer programming code
which is installed in a device or component which has no native intelligence whatsoever, while “software” is installed
in a device with native intelligence (e.g., a computer with an operating system software suite).

                                                          5
        Case 1:20-cv-00124-LMG Document 131                         Filed 08/01/22        Page 10 of 25




onto the devices. He will discuss the roles played by firmware in making the subject devices

operational.

         Mr. Huang will authenticate business records of Cyber Power Systems Manufacturing Inc.,

to the extent those records may need further authentication. He will also testify as to the nature

and extent of manufacturing operations performed at the CPSMI factory in the Philippines with

respect to the models of UPS and SVP at bar in this case

         In connection with its offer of proof, plaintiff intends to introduce the bills of material

(“BOM”) for all of the subject merchandise which detail the specific components of the products

at issue, and the BOM for the PCBA’s of the products at issue. It will also introduce the CPSMI

manufacturing standard operating procedures (“SOP”) and manufacturing flow charts for all of the

devices at issue, which provide visibility into the step-by-step manufacturing that occurred in the

Philippines.

         Plaintiff does not believe that defendant will be able to introduce any admissible fact

evidence to counter its presentation. Defendant has proposed introducing testimony of two CBP

officials: (i) National Import Specialist Karl Moosbrugger; 3 and (ii) Import Specialist Linda

Horace. Plaintiff has moved the Court to bar the testimony of both witnesses because inter alia

(1) they are not percipient witnesses with actual knowledge of CPSMI’s manufacturing activities;

and (2) they have not been qualified to provide expert testimony in accordance with the Rules of

the U.S. Court of International Trade (“USCIT R.”) or the Federal Rules of Evidence (“FRE”).

         Indeed, FRE 602 requires that fact witnesses testify only on the basis of personal

knowledge. This is true, as well, of witnesses providing lay opinions. Hi-Tech Rockfall Constr. v.


         3
           Ms. Horack is the “appropriate Customs officer” who signed the protest decision in this case pursuant to 19
U.S.C. § 1515(a). If testimony concerning the reasons for the protest denial were relevant—and it is not, given the
statutory presumption of correctness in 28 U.S.C. § 2639(a)(1)—she could speak to that. Mr. Moosbrugger, however,
could not.

                                                          6
        Case 1:20-cv-00124-LMG Document 131                            Filed 08/01/22         Page 11 of 25




County of Maui, 2009 U.S. Dist. LEXIS 146098 (D. Haw. Mar. 12, 2009); Mahaska Bottling v.

Pepsico Inc. 2019 U.S. Dist. LEXIS 230681 (S.D. Iowa Apr. 9, 2019); Corp. Fin Inc. v. Principal

Life Ins. Co., 2006 U.S. Dist. LEXIS 84541 (S.D. Fla. Nov. 20, 2006).

         However, defendant has indicated that it intends to offer its two witnesses to provide

improper and inadmissible expert testimony. Specifically, the government has indicated that Ms.

Horacek and Mr. Moosbrugger will testify as to their review of documents provided by Cyber

Power in connection with CBP’s administrative consideration of the protest, and provide opinions

to the Court based on that review. According to the government, “[t]his testimony is relevant

because it will tend to make it less probable that documents offered by plaintiff at trial are sufficient

to establish its preferred country of origin.” 4 The government made similar representations

regarding the proposed testimony of Mr. Moosbrugger. 5




         4
          See ECF 125, at p. 6, where the government makes it clear that Ms. Horacek is being offered to provide
opinions based on a review of documents:
         Ms. Horacek, as the import specialist who worked the entry, and who issued the protest decision as
         part of her job, will testify as to the types of documentation that Cyber Power needed to submit to
         CBP to establish country of origin. She will also provide testimony establishing why the documents
         submitted by Cyber Power were insufficient. This testimony is relevant because it will tend to make
         it less probable that documents offered by plaintiff at trial are sufficient to establish its preferred
         country of origin.

Not only is this impermissible expert testimony, but it seeks to usurp the fact-finding role of the Court in this action.
         5
             See ECF 126, at p. 6, where the government states:
         While Mr. Moosbrugger is able to testify as to the types of documentation that an importer needs to
         submit to CBP to establish country of origin, he is also able to provide testimony, as a percipient
         witness, as to why CBP rejects the Philippines as the country of origin for the six models at issue.
         This testimony is relevant because it will tend to make it less probable that documents and testimony
         offered by plaintiff at trial are sufficient to establish its preferred country of origin.

It is undisputed that Mr. Moosbrugger has never observed operations at Cyber Power Philippines. As to what he is a
“percipient” witness for, the defendant later states that “[t]he scope of facts to which Mr. Moosbrugger was percipient,
specifically all the facts considered by CBP in coming to its country of origin decision, is both relevant and central to
the trial of this case.” ECF 126, at 8. On the contrary, such testimony is neither percipient, not is it relevant, in light
of the statutory presumption of correctness, 28 U.S.C. § 2639(a)(1), and the requirement in 28 U.S.C. § 2640 that this
case be tried de novo on the basis of the evidence placed before the Court.

                                                            7
         Case 1:20-cv-00124-LMG Document 131                       Filed 08/01/22         Page 12 of 25




         It is apparent that what defendant seeks to do is have these witnesses present opinion

testimony—in effect, to improperly comment on the evidence plaintiff will put forth at trial. This

is the role of the expert witness. As noted in Vill. of Bondville v. Windstream Corp., 2015 U.S.

Dist. LEXIS 194439, at *11-12 (C.D. Ill. Apr. 13, 2015), “Forming an opinion based on a review

of documents and invoices after the fact is the province of a retained expert witness under

Rule 26(a)(2)(B).” (Emphasis added); see also LeBlanc v. Mr. Bult’s, Inc., 2019 U.S. Dist. LEXIS

134937, at *11 (N.D. Ill. Aug. 12, 2019).

         As noted in Chen-Oyster v. Goldman, Sachs & Co., 114 F.Supp. 3d. 110, 124-25 (S.D.N.Y.

2015):

         A witness must either have first-hand knowledge of the matter about which he
         testifies, and so testify as a percipient witness, or he must utilize expertise in order
         to aid the finder of fact in understanding esoteric or complex evidence. See United
         States v. Mejia, 545 F.3d 179, 194-96 (2d Cir. 2008).

It is undisputed that the defendant did not identify Ms. Horacek or Mr. Moosbrugger to the plaintiff

as expert witnesses. It did not provide expert reports, it did not make Mr. Moosbrugger available

to plaintiff for deposition as an expert, 6 nor satisfy any of the expert witness disclosure

requirements of USCIT R. 26(b).

         Quite apart from the considerable prejudice to plaintiff, were this court to allow

Ms. Horacek and Mr. Moosbrugger to provide opinion or commentary evidence in this trial, “after

having not complied with the Federal Rules, it would lower the bar for other experts and

“undermine the necessity of following the Federal Rules.” Hess v. White Castle Sys. Inc., 2020

U.S. Dist. LEXIS 55720 (S.D. Ill. March 31, 2020). The same is true of this Court’s rules.



         6
          Ms. Horacek testified at deposition that she returned to CBP in 2018 after a lengthy absence from the
workforce, and received 7 weeks of import specialist training in South Carolina, of which 2 days were devoted to
country of origin topics. It seems highly unlikely that, even if she had been offered as an expert witness, the Court
would have found her qualified to offer expert opinion testimony in this action.

                                                         8
        Case 1:20-cv-00124-LMG Document 131                         Filed 08/01/22        Page 13 of 25




         The appropriate action in this case is to bar Ms. Horacek and Mr. Moosbrugger from

providing the proffered expert testimony. Peters v. Butler, 2021 U.S. Dist. LEXIS 48914, at *32-

33 (S.D. Ill. Mar. 16, 2021).

                                                  ARGUMENT

I.       Requirements of the Country of Origin Marking Statute, 19 U.S.C. § 1304.

         Section 304(a) of the Tariff Act of 1930, 19 U.S.C. § 1304(a), requires that all goods of

foreign origin imported into the United States, or their packages, be marked permanently, legibly,

and in a conspicuous place, so as to indicate to the “ultimate purchaser” in the United States the

English name of the country of origin. The statute provides in pertinent part:

         Sec. 1304. Marking of imported articles and containers

         a) Marking of articles

                  Except as hereinafter provided, every article of foreign origin (or its
                  container, as provided in subsection (b) hereof) imported into the United
                  States shall be marked in a conspicuous place as legibly, indelibly, and
                  permanently as the nature of the article (or container) will permit in such
                  manner as to indicate to an ultimate purchaser in the United States the
                  English name of the country of origin of the article. The Secretary of the
                  Treasury may by regulations—

             1. Determine the character of words and phrases or abbreviations thereof which
             shall be acceptable as indicating the country of origin and prescribe any
             reasonable method of marking, whether by printing, stenciling, stamping,
             branding, labeling, or by any other reasonable method, and a conspicuous place
             on the article (or container) where the marking shall appear;

             2. Require the addition of any other words or symbols which may be appropriate
             to prevent deception or mistake as to the origin of the article or as to the origin
             of any other article with which such imported article is usually combined
             subsequent to importation but before delivery to an ultimate purchaser[.] 7




         7
           19 U.S.C. § 1304(a)(3) authorizes the Secretary of the Treasury to authorize numerous exceptions to country
of origin marking requirements, which exceptions are not relevant to the instant case.

                                                          9
      Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22     Page 14 of 25




       Historically, Courts have taken the position that a good originates, for marking purposes,

in the last country where it underwent a “substantial transformation” prior to being imported into

the United States. If an imported article undergoes a “substantial transformation” after importation

into the United States, it is no longer considered a foreign product and need not be marked to show

a foreign country of origin. See Gibson-Thomsen Co., 27 C.C.P.A. at 270-71.

       The Gibson-Thomsen court adopted the concept of “substantial transformation” from the

U.S. Supreme Court’s decision in Anheuser-Busch Brewing Assn. v. United States, 207 U.S. 556

(1908), which concerned the question of whether goods had been “manufactured” into new and

different articles for purposes of the duty drawback statute. The Anheuser-Busch Court noted:

       Manufacture implies a change, but every change is not manufacture, and yet every
       change in an article is the result of treatment, labor and manipulation. But
       something more is necessary, as set forth and illustrated in Hartranft v. Wiegmann,
       121 U.S. 609. There must be transformation; a new and different article must
       emerge, “having a distinctive name, character or use.”

207 U.S. at 562 (emphasis added).

       The “substantial transformation” test of a change in “name, character or use” is well-known

in customs law and has been used, with minor variations, to determine the country of origin of

goods for marking purposes, see Gibson-Thomsen Co., supra; to define “manufacturing” for duty

drawback purposes, see Anheuser-Busch Brewing Assn. supra; to administer preferential tariff

programs, such as the Generalized System of Preferences (“GSP”), see e.g., Torrington Co. v.

United States, 764 F.2d 1543 (Fed. Cir. 1985); to determine the origin of goods for purposes of

voluntary restraint and quota programs, see e.g., Ferrostaal Metals Corp. v. United States, 664 F.

Supp. 535 (Ct. Int’l Tr. 1987); see also e.g., Superior Wire Inc. v. United States, 11 C.I.T. 608

(1987); to determine the meaning of “manufacture” for purposes of the bonded warehouse statute,

19 U.S.C. § 1562, see Tropicana Products Inc. v. United States, 16 C.I.T. 155, 160 (1992); and to



                                                10
        Case 1:20-cv-00124-LMG Document 131               Filed 08/01/22     Page 15 of 25




determine whether goods are transformed in countries from which certain Federal government

procurements are prohibited, 19 U.S.C. § 1862, see Energizer Battery Inc. v. United States, 190 F.

Supp. 3d 1308 (Ct. Int’l Tr. 2016).

        Courts render “substantial transformation” determinations on a fact-specific, case-by-case

basis. A change in name has generally been considered the least persuasive factor in determining

whether a substantial transformation has taken place, see National Juice Products Assn. v. United

States, 10 C.I.T. 48, 59-60 (1986); however, only a change in one of the three specified criteria—

i.e., name, character or use—is required to establish a “substantial transformation.” See Koru North

America v. United States, 12 C.I.T. 1120, 1126 (1988).

        Some Courts have also established “cross-checks” on the Anheuser-Busch criteria of

“name, character and use,” for example by considering the cost or value added by specified

processes, see e.g., Ferrostaal Metals Corp., supra; Superior Wire Inc., supra; Uniroyal, Inc. v.

United States, 3 C.I.T. 220 (1982); United States v. Murray, 621 F.2d 1163 (1st. Cir. 1980), cert.

den. 499 U.S. 837 (1980); or by considering whether there has been a transformation from a

“producer’s good” to a “consumer good.” See e.g., Midwood Industries Inc. v. United States, 313

F. Supp. 951 (Cust. Ct. 1970), appeal dismissed, 57 C.C.P.A. 141 (1970).

II.     The Subject UPS and SVP Devices are Properly Marked as Products of The
        Philippines.

        For decades it has been clear that where an article is produced in two or more foreign

countries, the country of origin of the good, for purposes of the marking statute is the last country

where it undergoes a “substantial transformation” prior to being imported into the United States.

The Court of Appeals noted in Friedlaender & Co., v. United States, 27 C.C.P.A. 297, 303 (1940),

that:




                                                 11
      Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22      Page 16 of 25




       It is true that article 528 (c) of the Customs Regulations of 1937, as amended by
       T.D. 49658, states that “The country of origin means the country of manufacture or
       production.” It also stated that “Further work or material added to an article in
       another country must effect a substantial transformation in order to render such
       other country the country of origin’ within the meaning of this article.” When the
       entire paragraph is read it is clear that the statement contained in the first sentence
       was made in view of the decisions of this court and the Court of Customs and Patent
       Appeals relating to merchandise that had been manufactured in one country and
       transported to another country for further work or complete finishing, and that it
       had no reference to a change of jurisdiction of the place of manufacture, or
       production, or origin.

       The rule remains true today, and is codified in 19 C.F.R. § 134.1(b) (emphasis added):

       (b) Country of origin. “Country of origin” means the country of manufacture,
       production, or growth of any article of foreign origin entering the United States.
       Further work or material added to an article in another country must effect a
       substantial transformation in order to render such other country the “country of
       origin” within the meaning of this part; however, for a good of a NAFTA country,
       the NAFTA Marking Rules will determine the country of origin.

       We now turn to consideration of whether the products at bar acquire a new “name,

character or use” as a result of CPSMI’s manufacture in the Philippines. Uncontradicted

evidence will demonstrate that the articles acquire a new “name, character or use” by dint

of the Philippine manufacturing.

       A.      The UPS and SVP Devices Acquire New Names as a Result of the
               Manufacturing Operations Performed by CPSMI in the Philippines.

       All of plaintiff’s UPS and SVP devices acquire new names because of CPSMI’s Philippine

manufacturing operations. An examination of the bills of material for each of the five (5) UPS

units reveal that no component used in the manufacture of any of them in the Philippines was

denominated an “uninterruptible power supply.” Likewise, none of the components in the bill of

materials for the sole SVP at issue is denominated as a “surge voltage protector,” or by any similar

name. Moreover, trial testimony of Brent Lovett will establish that, both UPS and SVP units are




                                                 12
      Case 1:20-cv-00124-LMG Document 131                   Filed 08/01/22     Page 17 of 25




recognized as unique articles of commerce, having distinct names which describe their functions,

and which are recognized by consumers in commerce.

          While a change in name is typically viewed as the weakest indicator of a “substantial

transformation,” such a change does indicate that the imported articles are “different articles of

commerce” in a commercial sense and in a tariff sense. Midwood Industries Inc. v. United States,

64 Cust. Ct. at 508-09; see also United States v. International Paint Inc., 35 C.C.P.A. 87, 94

(1948).

          Even so, a change in name has evidentiary weight. In Sassy, Inc. v. United States, 24 C.I.T.

700, 704-05 (2000), the court indicated that the various components of a pacifier (e.g., plug, nipple

shield) had different names from the finished article (i.e., the pacifier). Tariff Acts are presumed

to be written in the language of commerce—see Swan v. Arthur, 103 U.S. 594, 598 (1881);

Hartmann Trunk Co. v. United States, 27 C.C.P.A. 254, 257 (1940)—which is presumed to

comport with the common meaning of terms.

          The test’s review of change in name also injects an element of common sense into origin

determinations. A retail purchaser heading to, for instance, The Home Depot, anticipating the

purchase of a UPS or SVP device would expect to find the finished, functional retail article which

is obtained through the manufacturing operations CPSMI performs in the Philippines. Such

customer would be rather surprised to instead encounter a retail box containing an unassembled

collection of parts described in a bills of materials generated before the CPSMI assembly

operations commence. As the Court has previously noted in this action “on a practical level a

finished flashlight does have a different name, character, and use than a pile of 50 unassembled

constituent components.” Cyber Power Sys. (USA) v. United States, 471 F. Supp. 3d 1371, 1377

(Ct. Int’l Trade 2020). The same is true of UPS and SVP devices.



                                                  13
      Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22     Page 18 of 25




       B.      The Imported UPS and SVP Devices Have a Different Character Than Any of
               the Components Imported Into the Philippines.

       Next, trial evidence will demonstrate that the UPS and SVP devices CPSMI manufactures

in the Philippines clearly have a “character” distinct from their various component materials and

parts used to assemble them. “Character” has been defined as “one of the essentials of structure,

form materials or function that usually make up and usually distinguish the individual.” Sassy,

Inc., 24 C.I.T. at 704 (citing Nat’l Hand Tool Corp. v. United States, 16 C.I.T. 308, 311 (1992),

aff’d, 989 F.2d 1201 (Fed. Cir. 1983)); see also Webster’s Third New International Dictionary,

“character” (1981 ed.)). Even where component parts are visually identifiable in the finished

article, the finished article will likely have a character and function different from the individual

component parts. Sassy, Inc., 24 C.I.T. at 704-05.

       In evaluating “character” in substantial transformation determinations, courts often

distinguish between substantial transformations based on assembly of components and those

involving treatment of a single material. See Texas Instruments Co. v. United States, 69 C.C.P.A.

151, PIN (1982); see also Adolphe Schwob, Inc. v. United States, 62 Treas. Dec. 248, T.D. 45908

(1933), aff’d, 21 C.C.P.A. 116 (1933). Changes in “character” are also denominated by changes

in “use,” and the two criteria are closely related. See Ferrostaal Metals Corp., 11 C.I.T. at 476.

       Changes in “character” can also be evaluated by examining whether something evolves

from a simple undifferentiated material to something with a defined use or range of uses,

Torrington Co., 764 F.2d at 1563, and whether it has been transformed from a “producer’s good”

to a “consumer good.” See SDI Techs Inc. v. United States, 977 F. Supp. 1235, 1240 (Ct. Int’l Tr.

1997); see also Midwood Industries Inc., 64 Cust. Ct. at 507.

       There is no doubt that, in the case of plaintiff’s UPS and SVP devices, CPSMI’s operations

in the Philippines create new and different articles of commerce having a character distinct from

                                                 14
      Case 1:20-cv-00124-LMG Document 131                 Filed 08/01/22     Page 19 of 25




those of their components. Unlike the situation described in Energizer Battery Inc. v. United States,

190 F. Supp. 3d 1308 (Ct. Int’l Tr. 2016), the various components assembled in the Philippines

are not identifiable as intended for a particular finished article. Rather, they are general use

electronic and electrical components—e.g., relays, diodes, resistors, zeners, varistors,

transformers, heat sinks, batteries and other components—which might be used to make a nearly-

infinite range of goods.

       Indeed, most of the components assembled by CPSMI in the Philippines to make the

finished UPS and SVP devices are parts of general use which could be used to make a wide range

of electronic and electrical articles. These include terminal anodes and cathodes, wiring,

transformers, heat sinks, USB charger boards, electrical wires and plugs, light emitting diodes

(“LED”), LAN and other electronic jacks, sockets, grounding terminals, and circuit breakers. In

the case of UPS devices, sealed lead acid batteries are also installed in the products in the

Philippines. UPS and SVP devices require all of these various components, but they must first be

assembled and connected together in precise configurations with technical exactitude in order for

the UPS and SVP devices to perform their intended functions.

       While CBP has placed extreme emphasis on the origin of the PCBAs—which are (with

respect to four of the five UPS devices) produced in China and shipped to the Philippines for

assembly with other components to make UPS devices—the fact remains that these PCBAs

themselves undergo a profound change in “character” after their importation into the Philippines,

before imparting a character change to the UPS devices in which they are incorporated. As shipped

from China to the Philippines, these PCBAs are lifeless and incapable of functioning. After

importation into the Philippines, they are programmed with “firmware,” which is developed in

Taiwan, using millions of lines of software code produced by Taiwanese software engineers. This



                                                 15
       Case 1:20-cv-00124-LMG Document 131               Filed 08/01/22     Page 20 of 25




firmware is what instructs the PCBAs to perform various functions relative to the other

components of the UPS devices. Id. Thomas Fuehrer will develop this in testimony at trial.

        Programming an electronic device with code has been recognized by this Court for decades

as being a significant operation in a substantial transformation context. In Data General Corp. v.

United States, 4 C.I.T. 182 (1982), the Court held that using firmware to program a PROM

(Programmable Read-Only Memory) into a ROM (read only memory) significantly changed the

character of the article:

        The Court is not convinced that programming a PROM is a mere modifying or
        finishing step. Defendant underestimates the time, expense and expertise required
        to program a PROM,” including the development of patters and production of a
        master PROM, which required “much time and expertise.”

Id. at 185. The court also noted that once a PROM had been converted to a ROM, the ROM was

no longer programmable. Id.

        Noting that “character” is “one of the essentials of structure, form, materials or function

that usually make up and usually distinguish the individual,” Sassy, Inc., 24 C.I.T. at 704, it is

readily apparent that, by reason of the operations performed in the Philippines, the UPS and SVP

devices at bar clearly have acquired a new structure and form. New materials have been added and

the devices have acquired functions that clearly did not inhere in any of the constituent

components.

        C.      The UPS and SVP Devices Acquire a New “Use” by Reason of the Operations
                Performed by CPSMI in the Philippines.

        UPS and SVP devices each have an important and unique purpose. A UPS must be able to

detect failures in a main power source—whose current flows through the UPS—and then engage

internal batteries to provide continuing power to connected, protected devices, until the connected

devices can be powered down (e.g., to protect against data loss), or connected to an auxiliary or



                                                16
      Case 1:20-cv-00124-LMG Document 131                  Filed 08/01/22    Page 21 of 25




backup power source, such as a generator. SVPs must be able to detect potentially harmful spikes

in electrical currents, including those resulting from phenomena such as lightning strikes, and cut

off the flow of current to protected, connected devices.

       None of the components imported into the Philippines and housed within the UPS and SVP

devices at bar have the ability to independently perform any of these functions. Prior to CPSMI’s

assembly of the UPS and SVP devices in the Philippines, there was no device which could be

connected to electrical current. There were no terminals into which a protected device could have

been plugged. The PCBAs within the devices had no intelligence which could allow them to handle

electrical current, measure it, or actuate a battery to provide reserve power. Indeed, there was no

battery in any UPS device, until the batteries (some of them of Vietnamese origin) were added in

the Philippines. The devices had no instructions for engaging the battery until programmed with

firmware in the Philippines.

       The SVP devices at issue had no way to connect to a power source, nor any terminal into

which a protected device could be plugged until these features were added in the Philippines by

assembly work performed there by CPSMI workers. They could not interrupt circuits to stop

voltage spikes until the metal oxide varistors and related components were assembled to the rest

of the device—this again occurring in the Philippines. It is beyond peradventure of doubt that the

operations performed at CPSMI’s Philippines plant in all cases resulted in the creation of new

articles of commerce having a character and use distinct from any and all of their components. See

e.g., Carlson Furniture Industries v. United States, 65 Cust. Ct. 474 (1970) (chair parts imported

into the United States where they were surface finished, assembled and fitted together, connected

with steel pins at all the key joints, with legs cut to length, leveled and supplied with glides and




                                                17
       Case 1:20-cv-00124-LMG Document 131                  Filed 08/01/22      Page 22 of 25




casters were new articles of commerce, with a distinct name, character and use). The UPS and

SVP units produced in the Philippines are recognizable as new consumer articles of commerce.

        This is not a close case. The operations performed by CPSMI in the Philippines to create

the UPS and SVP devices at issue result in the creation of a new and different article of commerce

having a name, character and use different than its components. The “name, character or use” test

set out in Gibson-Thomsen Co., supra, Anheuser-Busch Brewing Assn., supra, and other cases

defining “substantial transformation” have been amply met.

        To the extent the Court may wish to perform the “cross-checks” sometimes used in

evaluating changes in name, character and use, these are amply satisfied. There is transformation

from “producer’s goods” to “consumers’ goods. See SDI Techs Inc., 977 F. Supp. at 1240;

Midwood Industries Inc., 64 Cust. Ct. at 507. The assembly operations performed in the

Philippines are “complex and meaningful.” See C.S.D. 85-25, 19 Cust. B. & Dec. 533 (1985). The

assembly operations involve hundreds of manufacturing workers, performing complex processes

that need to be performed with skill and precision, and for which the workers receive extensive

training. The operations performed in the Philippines impart significant added value to the product.

        Returning to the consumer disclosure provisions of the marking statute, 19 U.S.C.

§ 1304(a), it is clear that the intent of the law is to advise a retail “ultimate purchaser” walking into

The Home Depot or Best Buy to purchase a UPS or SVP device regarding the country of origin

where that finished UPS or SVP was made. The consumer is interested in knowing the country

where the workmanship was put into the product to create it, where the electrical testing and quality

control processes were performed, where UL certification experts examined it and held it to be in

compliance with its consumer safety standard. In all these respects, the UPS and SVP devices were

made in the Philippines and should be marked as such under 19 U.S.C. § 1304(a).



                                                   18
             Case 1:20-cv-00124-LMG Document 131                  Filed 08/01/22     Page 23 of 25




III.          The Disjunctive Test Articulated in Energizer Battery is Not Appropriate in This Case.

              As noted in this Court’s prior opinion denying the parties cross motions for summary

judgement, “to suggest that all parts (however many) assembled into a ‘pre-determined’ product

may never result in a substantial transformation … is not, and cannot be, the law.” Cyber Power

Systems (USA) Inc. v. United States, 560 F. Supp. 3d 1347, 1355 (Ct. Int’l Tr. 2022). As such, any

argument that defendant makes concerning this test and the application of Energizer Battery, Inc.

v. United States, 190 F. Supp. 3d 1308 (Ct. Int’l Tr. 2016), should be disregarded.

                                                CONCLUSION

              For the reasons set forth herein, plaintiff requests that this Court issue an order:

       (i)       finding that the country of origin, for marking purposes, 19 U.S.C. § 1304(a), of the

                 subject uninterruptible power supplies and surge voltage protectors produced by

                 CPSMI and imported into the United States by plaintiff is the Philippines;

       (ii)      determining that the subject merchandise was marked correctly as products of the

                 Philippines at the time of entry; and

       (iii)     determining that defendant erred in excluding the subject merchandise from entry,

                 erred in demanding that the subject merchandise be marked “Made in China,” and erred

                 in denying Plaintiff’s protest against the exclusion.

              As detailed herein, the “substantial transformation” test for determining country of origin

of merchandise is a commercially-based test which should be cognizable to businesspersons. It is

not, and should not, be based, on quixotic notions of “essence” or vague qualitative concepts of

“sufficient” processing, which are subjective and changeable at will. A product’s country of origin

is effectively its “passport” in international trade. The determination of origin dictates which

countries a good may (or may not) be shipped to, the tariffs it will incur, and the restrictions which



                                                         19
      Case 1:20-cv-00124-LMG Document 131              Filed 08/01/22     Page 24 of 25




might be imposed on it in particular destinations. For over a century, it has been construed and

applied as a commercially based test. This Court should apply these commercial concepts in the

instant case, and reaffirm the application of commercial common sense to an extremely important

area of customs law and jurisprudence.



                                                Respectfully submitted,

                                                /s/ John M. Peterson
                                                John M. Peterson
                                                Patrick B. Klein
                                                NEVILLE PETERSON LLP
                                                Counsel for Plaintiff
                                                One Exchange Plaza
                                                55 Broadway, Suite 2602
                                                New York, NY 10006
                                                (212) 635-2730
                                                jpeterson@npwny.com

                                                /s/ Richard F. O’Neill
                                                Richard F. O’Neill
                                                701 Fifth Ave
                                                Suite 4200-2159
                                                Seattle, WA 98104
                                                (206) 905-3648
                                                roneill@npwny.com
Dated: August 1, 2022




                                              20
       Case 1:20-cv-00124-LMG Document 131                    Filed 08/01/22       Page 25 of 25




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LEO M. GORDON, SENIOR JUDGE
--------------------------------------------------------------------- X
CYBER POWER SYSTEMS (USA) INC.                                         :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :     No. 20-cv-00124
                                                                       :
THE UNITED STATES,                                                     :
                                                                       :
                 Defendant.                                            :
--------------------------------------------------------------------- X


                                CERTIFICATE OF COMPLIANCE

        Pursuant to the U.S. Court of International Trade Standard Chambers Procedures, and in

reliance upon the word count feature of the word processing program used to prepare the instant

Memorandum, I, Richard F. O’Neill, of Neville Peterson LLP, who is responsible for the instant

Memorandum, certify that it contains 6,416 words.


                                                          Respectfully submitted,

                                                          /s/ Richard F. O’Neill
                                                              Richard F. O’Neill
